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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

 In re GLOBAL MOLECULAR LABS,                   §
 LLC                                            §
                                                §
      Debtor,                                   §
                                                §
 JAMES W. CUNNINGHAM, as                        §
 Chapter 7 Trustee,                             §
                                                §
      Plaintiff,                                §
                                                §     CIVIL ACTION NO. 3:19-CV-3067-B
 v.                                             §       (Bankr. Case No. 17-34618-HDH-7)
                                                §           (Adv. No. 19-03144-HDH)
 AETNA HEALTH, INC. and AETNA                   §
 MEDICAID ADMINISTRATORS,                       §
 LLC,                                           §
                                                §
      Defendants.                               §

                                             ORDER

          Before the Court is the Report and Recommendation to District Court Regarding Motion to

Withdraw the Reference (Doc. 2-1), entered on February 4, 2020, by United States Bankruptcy

Judge Harlin DeWayne Hale, recommending that the Court grant the Motion to Withdraw the

Reference (Doc. 1-1). No objections to the Report and Recommendation were filed.

          Having reviewed the Report and Recommendation, the Motion to Withdraw the Reference,

and the pleadings and record, the Court hereby ACCEPTS the bankruptcy court’s Report and

Recommendation, insofar as it recommends that the Court grant the Motion to Withdraw. Thus,

the Court GRANTS the Motion (Doc. 1-1) and WITHDRAWS the reference to the bankruptcy

court.

          Additionally, the Court recognizes that the bankruptcy court identified several other

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adversary proceedings—also brought by Plaintiff here—and suggested that if the reference is

withdrawn in this case, “it may make sense to also withdraw the reference for the other similar

actions as well.” Doc. 2-1, Report and Recommendation, ¶ 9. After reviewing the dockets and filings

in those proceedings, the Court concludes that it will not withdraw the references in the related

actions at this time. The Court will continue to monitor the related actions, and might alter its

decision based on developments in those proceedings. Also at this time, the Court REFERS all

pretrial matters in this adversary proceeding to Judge Hale, as he is more familiar with the facts of

the underlying bankruptcy case and with the related proceedings. Judge Hale shall certify to this

Court when this case is ready for trial. Finally, the Court ORDERS the parties to notify the Court

if at any time they settle this matter before the bankruptcy court’s certification.



       SO ORDERED.

       SIGNED: March 27, 2020.



                                               _________________________________
                                               JANE J. BOYLE
                                               UNITED STATES DISTRICT JUDGE




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